                       .UNITED STATES DISTRICT COURT
                                                 for
                    EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

U.S.A. vs. Gwendolyn P~ Evans                                       .' Do.cket No. 5:08-CR-80-2F

                        .Petition for Action on Supervised Release

        COMES NOW Dewayne L. Smith, probation officer ofthe court, presenting a petition for
modification ofthe Judgment and Commitment Order ofGwendolyn P. Evans, who, upon an earlier
plea of guilty to 18 U.S.C. § 286, Conspiracy to Defraud the United States by Filing False Claims
With the Internal Revenue Service and 18 U.S.C. § 287, Filing False, Fictitious, and Fraudulent
United States Individual Income Tax Returns, was sentenced by the Honorable James C. Fox, Senior
U.S. District Judge, on January 7, 2009, to the custody of the Bureau of Prisons for a term of 1
month. It was further ordered that upon release from imprisonment the defendant be placed on
supervised release for 36 months under the standard conditions adopted by the court and the
following additional conditions:

1.     The defendant shall abide by all conditions and terrils of the home detention program for a
       period not to exceed 150 consecutive days. The defendant shall be restricted to her residence
       at all times except for pre-approved and scheduled absences for employment, education,
       religious activities, treatment, attorney visits, court appearances, court obligations or other
       activities as approved by the probation officer. The defendant shall wear an electronic
       monitoring device and follow electronic monitoring procedures specified by the probation
       officer. The defendant shall pay for electronic monitoring services as directed by the
       probation officer.

2.     The defendant shall consent to a warrantless search by a United States Probation Officer or,
       at the request of the probation officer, any other law enforcement officer, ofthe defendant's
       person and premises, including any vehicle, to determine compliance with the conditions of
       this judgment.

3.     The defendant shall cooperate in the collection of DNA as directed by the probation officer.

       Gwendolyn P. Evans was released from custody on April 9, 2009, at which time the term of
supervised release commenced.

     RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR
CAUSE AS FOLLOWS: The defendant has expressed a desire to undergo mental health counseling
in order to deal with feelings of depression and stress which relate to financial and personal
difficulties she is experiencing at this time. The defendant signed a Waiver of Hearing agreeing to
the proposed modification of supervision.




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       PRAYING THAT THE COURT WILL ORDER that supervised release be modified
as follows:

1.     The defendant shall participate in a program of mental health treatment, as directed by the
       probation office.

       Except as herein modified, the judgment shall remain in full force and effect.


Reviewed and approved,                              I declare under penalty of perjury that the
                                                    foregoing is true and correct.


 Is/Jeffrey L. Keller                                /s/Dewayne L. Smith
Jeffrey L. Keller                                   Dewayne L. Smith
Supervising U.S. Probation Officer                  U.S. Probation Officer
                                                    1760 Parkwood Blvd., Room 201
                                                    Wilson, NC 27893-3564
                                                    Phone: (252) 237-0788
                                                    Executed On: June 29, 2010


                                      ORDER OF COURT

Considered and ordered this  .eat'"   day of                       ,2010, and ordered filed and
made a part of the records in the above case.


-J-f?'-L




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